Case 2:04-CV-O2568-BBD-tmp Document 14 Filed 05/24/05 Page 1 of 2 Page|D 21

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

JAMES D. CAUSEY, et al.,

 

 

)
)
)
Plaintiffs, )
)
vs. ) Civ. No. 04-2568-D[P
)
ENCOMPASS INSURANCE COMPANY )
f/k/a cNA )
)
Defendant. )
)
ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
Before the court is plaintiffs’ Motion to Compel Discovery,
filed May 2, 2005 (Dkt #ll}. Local Rule 7.2(a)(2) requires that

the response to the motion and its supporting
memorandum . . . shall be filed within fifteen
days after service of the motion and shall be
accompanied by a proposed order. Failure to
respond timely to any motion, other than one
requesting dismissal of a claim or action, may
be deemed good grounds for granting the
motion.

The time for filing a response to plaintiffs' motion to compel

has passed. Therefore, the motion is GRANTED. Defendant shall

respond to plaintiffs’ interrogatories and requests for production

of documents requested in plaintiffs’

eleven (11) days from the date of this order.

IT IS SO ORDERED.

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TU M. PHAM

United States Magistrate Judge

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Date r

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Notice of Distribution

This notice confirms a copy of the document docketed as number 14 in
case 2:04-CV-02568 Was distributed by faX, mail, or direct printing on
May 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

